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       IN RE: ROUNDUP PRODUCTS                      Case No. 3:16-md-02741-VC
18     LIABILITY LITIGATION
                                                    MDL No. 2741
19
       This document relates to:                    ECF ATTESTATION
20

21     Hardeman v. Monsanto Co., et al.,
       3:16-cv-0525-VC
22
       Stevick v. Monsanto Co., et al.,
23     3:16-cv-2341-VC
24     Gebeyehou v. Monsanto Co., et al.,
25     3:16-cv-5813-VC

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 1          Pursuant to Civil L.R. 5-1(i)(3), the filing attorney attests he has obtained concurrence regarding
 2   the documents submitted in this filing from the signatories therein.
 3

 4    Date: January 30, 2019                              By:        /s/ Leland H. Belew
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